296 F.2d 283
    St. Clair E. MILLER, Plaintiff-Appellant,v.Hazel Lee MILLER, Defendant-Appellee.
    No. 73.
    Docket 27054.
    United States Court of Appeals Second Circuit.
    Submitted November 3, 1961.
    Decided November 21, 1961.
    
      St. Clair E. Miller, plaintiff-appellant, pro se.
      No appearance for defendant-appellee.
      Before CLARK, HINCKS, and KAUFMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      This appeal from the denial of appellant's application for counsel to press his action for damages against his wife for procuring his confinement in a state mental institution while sane involves the same issues — parties, appealability, and the discretionary power of the judge in assigning counsel under 28 U.S.C. § 1915(d) — as in the companion appeal against the hospital superintendent we are deciding herewith. Miller v. Pleasure, 2 Cir., 296 F.2d 283, decided this day. Except as to the one claim of governmental immunity not here available, the chances of any success at all for plaintiff in the action below seem as dubious here as we found them there. The judge exercised sound discretion in denying the application.
    
    
      2
      Affirmed.
    
    